 Filing #Case 9:23-cv-80344-AMC Document 1-6 Entered on FLSD Docket 03/02/2023 Page 1 of 2
          164246441   E-Filed 01/06/2023 02:16:40 PM

                           IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                                  IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                         CASE NO. 50-2022-CA-009847-XXXX-MB


         KWAMAIN ONEAL,
                          Plaintiff,
         vs.




                                                                                       PY
         CITY OF RIVIERA BEACH AND JOHN VANDERLAAN




                                                                             CO
                          Defendant(s),
         ___________________________________/




                                                                      D
                                                               IE
                                          NOTICE OF UNAVAILABILITY
                                                         IF
                   The undersigned counsel, Zedrick Barber II, Esq., hereby files this Notice of
                                                RT


         Unavailability and in support thereof states:
                                       CE



                   1.     The undersigned will be on a prepaid vacation from Wednesday, March 1, 2023

         through Monday March 6, 2023 and Friday, March 17, 2023 through Monday March 27, 2023.
                                A




                   WHEREFORE, the undersigned respectfully requests that no motions, hearings,
                          T




         depositions, or other proceedings in this action be scheduled within the above-referenced time
                        O




         frames.
               N




                                               CERTIFICATE OF SERVICE

                          I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished

                   via Electronic Mail Service on January 3, 2023 to the attached Service List.

                                                                Respectfully submitted,

                                                                The Barber Firm, LLC



*** FILED: PALM BEACH COUNTY, FL JOSEPH ABRUZZO, CLERK. 01/06/2023 02:16:40 PM ***
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                                           (561) 221-1708


                                           By: /s/ Zedrick Barber II
                                           Zedrick Barber, II, Esq.
                                           Florida Bar No. 0110326




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